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1                                   UNITED STATES DISTRICT COURT
2                                 NORTHERN DISTRICT OF CALIFORNIA
3                                            SAN JOSE DIVISION
4    UNITED STATES OF AMERICA,                     )       No. CR 06-00214 JW
                                                   )
5                    Plaintiff,                    )       ORDER CONTINUING CASE AND
                                                   )       EXCLUDING TIME UNDER THE
6        v.                                        )       SPEEDY TRIAL ACT, 18 U.S.C. § 3161
                                                   )
7    MIGUEL ANGEL HERNANDEZ-AVALOS,                )
        a/k/a Miguel Hernandez,                    )
8                                                  )
                     Defendant.                    )
9                                                  )
10            This matter came before the Court for a status hearing on Monday, September 18, 2006.
11   Counsel for the government and the defendant were present. Based on the hearing, at the request
12   of the defendant, the Court finds pursuant to Title 18, United States Code, Section
13   3161(h)(8)(A), considering the factors set forth in Section 3161(h)(8)(B), that the interests of
14   justice in granting this continuance outweigh the defendant’s and the public’s interests in a
15   speedy trial inasmuch as the defendant needs additional time for investigation and effective
16   preparation.
17            IT IS HEREBY ORDERED that this case is continued to Monday, October 2, 2006 at
18   1:30 p.m. for trial setting or disposition.
19            IT IS FURTHER ORDERED that the period of time from September 18, 2006 through
20   and including October 2, 2006 shall be excluded from the period of time within which trial must
21   commence under the Speedy Trial Act, 18 U.S.C. § 3161 et seq.
22
23   DATED: September 19th, 2006
24
25                                                 ________________________________
                                                   JAMES WARE
26                                                 United States District Judge
27
28
            Case5:06-cr-00214-JW
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